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5                              UNITED STATES DISTRICT COURT

6                             EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,                    No.       2:14-cr-0083-GEB
9                       Plaintiff,
10          v.                                    ORDER RESPONDING TO MOTIONS IN
                                                  LIMINE
11   MIIHRAN MELKONYAN,
     RUSLAN KIRILYUK, and
12   ALEKSANDR MASLOV,
13                  Defendants.
14                Pending are cross motions in limine.                    Defendant Mihran

15   Melkonyan moves “to exclude from evidence at trial any indication

16   that he fled to Mexico after learning about the investigation or

17   charges against him in this case.” Def’s Mot. at 1:16-17, ECF No.

18   134. The United States opposes the motion, arguing that “evidence

19   of flight . . . should be admitted . . . to show consciousness of

20   guilt.” Gov’t’s Opp’n at 1:17-20, ECF No. 138. The United States

21   also   moves       in   limine   to   have       “admit[ted]   evidence      of   Mihran

22   Melkonyan’s flight and approximately year-long fugitive status in

23   order help establish consciousness of guilt.”                        Gov’t’s Mot. at

24   1:17-18, ECF No. 135.

25                “The probative value of flight evidence depends on the

26   degree      with    which   inferences           can   be   drawn:    ‘(1)   from   the

27   defendant’s behavior to flight; (2) from flight to consciousness

28   of guilt; (3) from consciousness of guilt to consciousness of
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1    guilt concerning the crime charged; and (4) from consciousness of

2    guilt concerning the crime charged to actual guilt of the crime

3    charged.’” United States v. Fox, 627 F. App’x 608, 609 (9th Cir.

4    2015) (quoting United States v. Felix-Gutierrez, 940 F.2d 1200,

5    1207 (9th Cir. 1991)).

6                The United States asserts in its motion:

7                Melkonyan’s actions also show he was fleeing.
                 Almost immediately after the search warrants
8                [were executed], Melkonyan left his home and
                 his family, and . . . fled to Mexico. When
9                he    returned   to    the    United   States
                 approximately one year later, Melkonyan was
10               caught on video recordings acting furtively
                 in a manner consistent with someone who was
11               trying to avoid being seen.
12   Gov’t’s Mot. at 3:4-7.

13               The United States also asserts in its motion:

14               [T]he timing of [Melkonyan’s] actions can
                 show that he was engaged in flight because of
15               the charged crime. . . .    For that reason,
                 “flight immediately after the commission of
16               the crime, or immediately prior to trial,
                 both support an inference of consciousness of
17               guilt.”
18   Id. at 3:13-16 (quoting United States v. Hernandez-Miranda, 601

19   F.2d 1104, 1107 (9th Cir. 1979)).

20               An inference of Melkonyan’s consciousness of guilt can
21   be drawn from the government’s factional assertions. Therefore,

22   Defendant     Mihran    Melkonyan’s       motion   is   denied       and   the

23   government’s motion is granted.

24               Further, the January 27, 2017 hearing on this motion is

25   vacated.

26   Dated:   January 24, 2017
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